135 F.3d 763
    Brooks Erection &amp; Construction Co., Inc.v.BP Oil Company (2 Cases); Anthony Crane Rental, Inc. v. B.P.Oil v. Brooks Erection &amp; Construction Co., Inc.;BP Exploration &amp; Oil, Inc. v. BrooksErection &amp; Construction Co., Inc.
    NOS. 96-1064, 96-1155
    United States Court of Appeals,Third Circuit.
    Dec 22, 1997
    
      1
      Appeal From:  E.D.Pa. ,Nos.94cv06520, 94cv06715, 94cv07781, 94cv06520
    
    
      2
      Vacated.
    
    